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                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                              FORT WORTH DIVISION

SULEMA GARZA                            §
                                        §
V.                                      §     ACTION NO. 4:11-CV-161-Y
                                        §
NEW BREED LOGISTICS, INC.,              §
ET AL.                                  §

       ORDER TEMPORARILY QUASHING DEPOSITION NOTICE AND SUBPOENA

        Pending     before   the    Court     is    non-party     Texas     Workforce

Commission ("the TWC")'s Objection to Deposition (doc. 25), filed

August 31, 2011.        The TWC's objection seems to request that the

Court quash a deposition notice and subpoena served on the TWC by

defendant New Breed Logistics, Inc. ("New Breed")'s counsel on

August 15.        After careful consideration of this matter, the Court

finds that the deposition notice and subpoena should be and are

hereby TEMPORARILY QUASHED pending the final disposition of the

TWC's objection.

        Additionally,    the    Court       finds   that   the    parties    to   this

discovery dispute should be given one final opportunity to make a

good faith attempt at resolving the dispute among themselves.                       In

this regard, New Breed and the TWC are referred to the en-banc

opinion in Dondi Properties Corp. v. Commerce Savings & Loan Ass'n,

121 F.R.D. 284 (N.D. Tex. 1988) (en banc & per curiam).                           That

opinion sets forth standards of conduct for counsel (and pro se

parties) to follow throughout litigation.                  Particularly relevant

here are the standards for conduct during discovery.                      "[Parties]

should     make    reasonable      efforts     to   conduct      all   discovery    by

agreement."        Id. at 293.      The Court warns New Breed and the TWC

that discovery disputes are not taken lightly, and, if resolution
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by the Court is required, sanctions will be imposed upon any

participant   found    to   be   conducting     or    opposing     discovery

unreasonably, in bad faith, or otherwise not in compliance with the

rules or Dondi.

     Therefore, New Breed and the TWC shall confer and make a good-

faith effort to resolve this discovery dispute between themselves.

If New Breed and the TWC are able to completely resolve this

discovery dispute, the TWC shall notify the Court in writing as

soon as possible, but not later than September 20, 2011, that its

objection should be rendered moot.

     If the parties are able to resolve part, but not all of their

discovery dispute, the TWC must file an amended objection as to the

remaining disputed matters only no later than September 20, 2011.

     Should the parties be able to resolve none or only a part of

their discovery dispute, New Breed must respond to the TWC’s

initial or amended objection no later than September 27, 2011. Any

reply to New Breed’s response must be filed in accordance with Rule

7.1(f) of the Local Civil Rules of this Court.

     SIGNED September 2, 2011.


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                                         TERRY R. MEANS
                                         UNITED STATES DISTRICT JUDGE




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